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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           )
In re                                                      )   Chapter 11
                                                           )
ENERGY FUTURE HOLDINGS CORP., et                           )   Case No. 14-10979 (CSS)
al.,1                                                      )
                                                           )   (Jointly Administered)
                             Debtors.                      )
                                                           )   Re: D.I. 1222, 1223
                                                           )
                                                               Hearing Date: July 18, 2014 at 9:30 a.m.
                                                           )   Objection Deadline: July 11, 2014 at 4:00 p.m.

      NOTICE OF “AMENDED MOTION OF ENERGY FUTURE HOLDINGS
      CORP., ET AL., FOR ENTRY OF AN ORDER AUTHORIZING CERTAIN
  OF THE DEBTORS TO CONTINUE HONORING OBLIGATIONS TO RETIREES
      AND NON-INSIDER EMPLOYEES ON ACCOUNT OF NON-QUALIFIED
               BENEFIT PROGRAMS” AND HEARING THEREON
_____________________________________________________________________________

         PLEASE TAKE NOTICE that, on June 27, 2014, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), filed the Motion of Energy Future Holdings

Corp., et al., for Entry of an Order Authorizing Certain of the Debtors to Continue Honoring

Obligation to Retirees and Non-Insider Employees on Account of Non-Qualified Benefit

Programs [D.I. 1222] (the “Motion”) and the Declaration of Carrie Kirby, the Executive Vice

President of Human Resources in Support of the Motion of Energy Future Holdings Corp., et al.,

for Entry of an Order Authorizing Certain of the Debtors to Continue Honoring Obligations to

Retirees and Non-Insider Employees on Account of Non-Qualified Benefit Programs [D.I. 1223]

(the “Declaration”) with the United States Bankruptcy Court for the District of Delaware, 824

North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).
         1
           The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location
of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in
these chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be obtained
on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.




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Pursuant to the Motion, the Debtors are seeking entry of an order authorizing certain Debtors to

continue to honor certain obligations to retirees and non-insider employees on account of two

Non-Qualified Benefit Programs (as defined the Motion). You were previously served with a

copy of the Motion and the Declaration.

         PLEASE TAKE FURTHER NOTICE that, today, the Debtors have filed the attached

Amended Motion of Energy Future Holdings Corp., et al., for Entry of an Order Authorizing

Certain of the Debtors to Continue Honoring Obligations to Retirees and Non-Insider

Employees on Account of Non-Qualified Benefit Programs (the “Amended Motion”) and the

Declaration of Carrie Kirby, the Executive Vice President of Human Resources in Support of the

Motion of Energy Future Holdings Corp., et al., for Entry of an Order Authorizing Certain of the

Debtors to Continue Honoring Obligations to Retirees and Non-Insider Employees on Account

of Non-Qualified Benefit Programs (the “Amended Declaration”) with the Bankruptcy Court.

Pursuant to the Amended Motion, the Debtors are seeking entry of an order authorizing certain

Debtors to continue to honor certain obligations to retirees and non-insider employees on

account of two Non-Qualified Benefit Programs, subject to certain technical clarifications, all as

highlighted in the redline comparison of the Amended Motion in the form attached as “Exhibit

B” thereto.

         PLEASE TAKE FURTHER NOTICE that any responses or objections to the Amended

Motion must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market

Street, 3rd Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned

proposed co-counsel for the Debtors on or before July 11, 2014 at 4:00 p.m. (Eastern Daylight

Time).




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         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such

objection and the Amended Motion will be held before The Honorable Christopher S. Sontchi at

the Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on July 18, 2014 at 9:30 a.m. (Eastern Daylight Time).

         IF NO OBJECTIONS TO THE AMENDED MOTION ARE TIMELY FILED, SERVED

AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT

MAY GRANT THE RELIEF REQUESTED IN THE AMENDED MOTION WITHOUT

FURTHER NOTICE OR HEARING.




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Dated: July 1, 2014
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                                    Proposed Co-Counsel to the Debtors and Debtors in Possession




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